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1                              UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3     NIKOLAUS A. CHILDS,                                  Case No. 3:20-cv-00639-MMD-CLB
4                                            Plaintiff                     ORDER
5            v.
6     G. CARPENTER, et al.,
7                                        Defendants
8
9    I.     DISCUSSION

10          On November 19, 2020, this Court ordered Plaintiff to file a fully complete

11   application to proceed in forma pauperis or pay the full $400 filing fee for a civil action on

12   or before January 19, 2021. (ECF No. 4 at 2). On January 11, 2021, Plaintiff filed a

13   motion for an extension of time to file a fully complete application to proceed in forma

14   pauperis because he had not yet received his financial certificate from the NDOC. (ECF

15   No. 5). The Court now grants Plaintiff’s motion for an extension of time. Plaintiff shall file

16   a fully complete application to proceed in forma pauperis or pay the full $400 filing fee on

17   or before February 25, 2021.

18   II.    CONCLUSION

19          For the foregoing reasons, IT IS ORDERED that Plaintiff’s motion for extension of

20   time (ECF No. 5) is granted.

21          IT IS FURTHER ORDERED that on or before February 25, 2021, Plaintiff shall

22   either: (1) file a fully complete application to proceed in forma pauperis, on the correct

23   form with complete financial attachments in compliance with 28 U.S.C. § 1915(a); or (2)

24   pay the full $400 fee for filing a civil action (which includes the $350 filing fee and the $50

25   administrative fee).

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1          IT IS FURTHER ORDERED that if Plaintiff does not timely comply with this order,
2    this action may be subject to dismissal. IT IS SO ORDERED.
3                  January 12, 2021
           DATED: _____________
4
5                                          UNITED STATES MAGISTRATE JUDGE
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